         Case 4:08-cr-00326-BRW          Document 75       Filed 09/10/09     Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION


UNITED STATES OF AMERICA

         vs.                         4:08CR00326-02-WRW

WALTER MARTEZ HARE


                                              ORDER

         Pending is the Government’s Motion for Leave of Court to Dismiss the Indictment (doc #74).

The Motion is GRANTED. The Indictment is dismissed as to defendant, Walter Martez Hare, only.

         IT IS SO ORDERED this 10th day of September, 2009.




                                                            /s/Wm. R. Wilson, Jr.
                                                       UNITED STATES DISTRICT JUDGE




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